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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION


UNITED STATES OF AMERICA

v.                                                             CASE NO. 1:99-cr-00069-MP-AK

CHRISTIAN WESNER,

      Defendant.
___________________________/

                           REPORT AND RECOMMENDATION

       This matter is before the Court on Doc. 248, Motion to Vacate under 28 U.S.C. § 2255,

by Christian Wesner. On March 2, 2000, Defendant was convicted by a jury of one count of

conspiracy to possess with intent to distribute crack cocaine and three counts of possession with

intent to distribute crack cocaine. Doc. 100. He was sentenced on October 30, 2001, to a term

of 188 months imprisonment on each count to run concurrently. Docs. 157 & 159. Defendant

appealed his sentence, which was affirmed. Doc. 195.

       On this occasion, Defendant maintains that his Fifth and Sixth Amendment rights have

been violated pursuant to Blakely and Booker . Doc. 248.

       Following its decision in Blakely, which involved the constitutionality of state sentencing

guidelines, the United States Supreme Court determined that Blakely applies to the Federal

Sentencing Guidelines as well. United States v. Booker, ____ U.S. ____, 124 S.Ct. 2519, 159

L.Ed. 2d 442 (2204). However, the Eleventh Circuit has determined that Booker is not
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retroactively applicable to cases on collateral review, as “Booker’s constitutional rule falls

squarely under the category of new rules of criminal procedure that do not apply retroactively to

§ 2255 cases on collateral review.” Varela v. United States, 400 F.3d 864, 868 (11th Cir. 2005);

see also In re Anderson, 396 F.3d 1336 (11th Cir. 2005).

        In light of the foregoing, it is respectfully RECOMMENDED:

        That Defendant’s motion to vacate pursuant to 28 U.S.C. § 2255, Doc. 248, be DENIED.

        IN CHAMBERS at Gainesville, Florida, this 4th             day of January, 2006.




                                               s/A. Kornblum
                                               ALLAN KORNBLUM
                                               UNITED STATES MAGISTRATE JUDGE




                                    NOTICE TO THE PARTIES

          A party may file specific, written objections to the proposed findings and recommendations
within 15 days after being served with a copy of this report and recommendation. A party may
respond to another party’s objections within 10 days after being served with a copy thereof. Failure
to file specific objections limits the scope of review of proposed factual findings and recommendations.




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